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AO 450 (Rev. 5/85) Judgment in a Civil Case r




                                            United States District Court
                                                WESTERN DISTRICT OF WASHINGTON


EDWARD M. OLSEN,                                                            JUDGMENT IN A CIVIL CASE
                                     v.
                                                                            Case No. 10-5773RBL/JRC

KITSAP COUNTY, et al.,




            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
            and the jury has rendered its verdict.

  X     Decision by Court. This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.
   THE COURT HAS ORDERED THAT


            (1)           The Court adopts the Report and Recommendation; and

            (2)           This action is DISMISSED WITH PREJUDICE for failure to file an amended complaint
                          when ordered to do so.




                February 1, 2011                                              WILLIAM M. McCOOL
                 Date                                                            Clerk


                                                            s/ Mary Trent
                                                                            Deputy Clerk
